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EXHIBIT

1A

T

BILL OF SALE

This Bill of Sale (the “Agreement”) is made and entered into as of September 5, 2017
(the “Effective Date”), by and among Greenleaf Resources, Inc., a Mississippi corporation
(“Seller”) and John F. White, Jr., a Louisiana resident (“Purchaser”), Each of the Seller and
Purchaser is sometimes individually or collectively referred to as a “Party” or the “Parties”.

RECITALS

A. Seller desires to sell, and Purchaser desires to purchase, the assets listed in Exhibit
“A” hereto (the “Assets”).

NOW, THEREFORE, in consideration of the covenants, promises and representations set
forth herein and for good and valuable consideration, the receipt and sufficiency of which is
hereby acknowledged, the Parties hereby agree as follows:

l. Consideration, The purchase price for the Assets is $1,440,000, of which
$233,815.44 will be paid directly to j inancial_Services Corporation to pay off liens

On certain Assets, $28,800 will pay closing expenses, and $1 ,177,384.56 will be paid to Seller as

set ‘forth below.

2. Financing. Texas State Bank (“TSB”) has provided a loan to Purchaser to finance
his acquisition of the Assets. TSB will wire the Purchase Price directly to Caterpillar and the
Seller as set forth in Section 1 above. Purchaser has separately granted TSB a purchase money
security interest in the Assets.

3. Bill of Sale, Seller does hereby, effective from and after the Effective Date, sell,
convey, assign, transfer and deliver unto Purchaser all right, title, and interest in, to and under all
of the Assets.

4, Seller’s Representations and Warranties, The Seller represents and warvants to
the Purchaser that:

a. The Seller has full legal authority to enter into and exercise its obligations
under this Agreement.

b. The Seller is validly existing, and in good standing and has all requisite
authority to carry on business as currently conducted.

c. The Seller has all necessary power, authority and capacity to enter into
this Agreement and to carry out its obligations. The execution and delivery
of this Agreement, and this transaction has been duly authorized by all
necessary corporate action on the part of the Seller.

d. For all Assets delivered by Seller to Purchaser, the Seller is the absolute
beneficial owner of the Assets, with good and marketable title, free and
clear of any liens, charges, encumbrances or rights of others.

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There has been no act or omission by the Seller that would give rise to any
valid claim relating to a brokerage commission, finder’s fee, or other
similar payment.

The Seller is a resident of the United States for the purposes of the Internal
Revenue Code.

This Agreement has been duly executed and delivered by the Seller and
constitutes a legal and binding obligation of the Seller, enforceable in
accordance with its terms.

The Seller warrants to the Purchaser that each of the representations and
warranties made by it is accurate and not misleading at the Effective Date.
The Seller acknowledges that the Purchaser is entering into this
Agreement in reliance on each warranty and representation. The
representations and warranties of Seller set forth above shall survive the
Effective Date.

This Agreement and the acts contemplated hereunder do not constitute a
violation of or a default under, or conflict with, any term or provision of
any contract, commitment, indenture, or other agreement, or any other
restriction of any kind, to which Seller is a party or by which Seller is
bound,

The sale of the Assets does not require Seller to obtain any approval or
consent of, or give notice to or make any filing with any governmental
authority bearing on the validity of this Agreement that is required by law
or the regulations of any such governmental authority.

Seller represents and warrants it will pay all federal, state, and local taxes
relating to the sale of the Assets for which Seller is responsible, including
but not limited to sales tax associated with the sale of the Assets.

5. Purchaser’s Representations and Warranties, The Purchaser represents and

warrants to the Seller the following:

a,

The Purchaser has full legal authority to enter into and exercise its
obligations under this Agreement.

The Purchaser is a resident of the United States for the purposes of the
Internal Revenue Code.

This Agreement has been duly executed by the Purchaser and constitutes a
legal and binding obligation of the Purchaser, enforceable in accordance
with its terms.

The Purchaser has no knowledge that any representation or warranty given
by the Seller in this Agreement is inaccurate or false.
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The representations and warranties given in this Agreement are the only
representations and warranties. The Purchaser has given no other
representation or warranty, either expressed or implied, to the Seller.

The Purchaser warrants to the Seller that each of the representations and
warranties made by it is accurate and not misleading at the Effective Date.
The Purchaser acknowledges that the Seller is entering into this
Agreement in reliance on each warranty and representation. The
representations and warranties of Purchaser set forth above shall survive
the Effective Date.

6. Excluded Liabilities. Under no circumstance shall Purchaser be obligated to pay
or assume any liability of Seller, including the following, whether fixed or contingent, recorded
or unrecorded, known or unknown:

a.

any obligation or liability (whether known or unknown) accruing, arising
out of, or relating to Seller’s ownership or operation of the Assets;

any obligation or liability accruing, arising out of, or relating to any act or
omission (or suspected or alleged act or omission) by Seller or any of its
staff, employees, agents, vendors or representatives;

any long-term indebtedness, including capital lease obligations ;

any indebtedness for borrowed money, including indebtedness owed to a
bank or other similar financial institution;

any obligation or liability accruing, arising out of, or relating to any
federal, state or local investigations, claims or actions with respect to acts
or omissions (or suspected or alleged acts or omissions) of Seller;

any taxes arising or resulting from or in connection with Seller’s
ownership and/or operation of the Assets

any taxes for which Seller is liable pursuant to this Agreement resulting
from or payable in connection with the sale of the Assets;

liabilities for expenses incurred by Seller incidental to the preparation of

. this Agreement, the preparation or delivery of materials or information

requested by Purchaser, or the consummation of the transactions
contemplated hereby, including all broker, counsel and accounting fees or
any account payable that is attributable to legal and accounting fees and
similar costs incurred by Seller that are directly related to the sale of any
of the Assets;

liabilities arising from or in connection with (i) any order of any
governmental authority, or (ii) the violation of any law.
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7. Indemnity, Each Party shall defend, indemnify and hold the other Party harmless
from and against all such claims arising out of or relating to any false or misleading
representation or warranty made by such Party.

8. Further Assurances, Seller each hereby agrees that, at any time and from time to
time after the Effective Date, upon the request of Purchaser and without further consideration,
Seller shall duly execute, acknowledge and deliver all such further assignments, transfers,
conveyances, documents relating to the conveyance of title of the Assets, powers of attommey and
assurances (and will cause to be done all and every such further acts) as may be required to more
effectively convey, transfer to and vest in Purchaser, and to put the Purchaser in possession of,
any of the Purchased Assets.

9. Governing Law, This Bill of Sale shall be governed by the laws of the State of
Louisiana without regard to its conflict of laws principles.

10, Severability. Any term or provision of this Bill of Sale that is invalid or
unenforceable in any situation in any jurisdiction shall not affect the validity or enforceability of
the remaining terms and provisions hereof or the validity or enforceability of the offending term
or provision in any other situation or in any other jurisdiction.

11. Amendment, Waiver, etc. No amendment, modification or discharge of this Bill
of Sale, and no waiver hereunder, shall be valid or binding unless set forth in writing and duly
executed by the Party against whom enforcement of such amendment, modification, discharge or
waiver is sought.

12. Binding Effect; Bill of Sale, This Bill of Sale shall be binding upon, inure to the
benefit of and be enforceable by the parties hereto and their respective successors and assigns;
provided, however, that Seller may not assign this Bill of Sale te any person (it being understood
by the parties hereto that any purported Bill of Sale by Seller shall be null and void).

13. Third-Party Beneficiaries. Nothing in this Bill of Sale, express or implied, is
intended or shall be construed to create any third-party beneficiaries.

14. | Counterparts; Facsimiles. This Bill of Sale may be executed in any number of
counterparts, each of which when so executed and delivered shall be deemed to be an original
and all of which taken together shall constitute one and the same instrument, respectively.
Executed copies of the signature pages of this Bill of Sale sent by facsimile or transmitted
electronically in Portable Document Format (“PDF”) shall be treated as originals, fully binding
and with full legal force and effect, and the Parties waive any rights they may have to object to
such treatment. Any Party delivering an executed counterpart of this Bill of Sale by facsimile or
PDF also may deliver a manually executed counterpart of this Bill of Sale, but the failure to
deliver a manually executed counterpart shall not affect the validity, enforceability, and binding
effect of this Bill of Sale.

(Signature Page Follows)
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STATE OF LOUISIANA
PARISH OF ed.
THUS DONE AND PASSED on this b day of September, 2017, in the presence of

the undersigned competent witnesses, who hereunto subscribed their names together with the
said appearer and me, Notary, after due reading of the whole.

WITNESSES: PURCHASER:
Baht Name: a ohn F. White, Jr.

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fyi Name: <> 05? On rH EK PrintName: Soha Weraer
Notary/Bar Roll #: 23342
My Commission Expires: __ Da

STATE OF TEXAS
COUNTY OF

THUS DONE AND PASSED on this day of September, 2017, in the presence of
the undersigned Notary, after due reading of the whole.

WITNESSES: SELLER:

Greenleaf Resources, Inc.
Print Name:

By:

Name: Edgar L. Vines, Jr.
Print Name: Title: President

(Signature Page to Bill of Sale)
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STATE OF LOUISIANA
PARISH OF

THUS DONE AND PASSED on this day of Se ptember2017, in the presen cef the
un dersi gnmompeten ti tnessewho hereunto subscribed their names to gethewith the sai d
& ppea rand me, Notary, after due rea dinogthe whole.

WITNESSES: - PURCHASER:
Print Name: John F. White, Jr.
; Notary Publi c
Print Name: Print Nasne:
Notary/Bar Roll #:
My Commission Expires:

STATE OF TEXAS

COUNTY OF Whadd

THUS DONE AND PASSED on this Gif day of September, 2017, in the presence of the
un dersi egrNotary, a ftedue rea din ¢f the whole.

WITNESSES: SELLER:

Greenleaf Resources, Inc.

w— Lbaé lbh

Title: President

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EXHIBIT “A”

Attached
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